Case 1:01-cv-12257-PBS Document 6530-14 Filed 09/22/09 Page 1 of 6




             EXHIBIT 13
       Case 1:01-cv-12257-PBS Document 6530-14 Filed 09/22/09 Page 2 of 6

DeParle, Nancy-Ann                                               May 18, 2007
                                     Washington, DC

                                                                              Page 1
                   UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - - x

   IN RE:    PHARMACEUTICAL           : MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE         : CIVIL ACTION:

   PRICE LITIGATION                   : 01-CV-12257-PBS

   THIS DOCUMENT RELATES TO           :

   U.S. ex rel. Ven-a-Care of         : Judge Patti B. Saris

   the Florida Keys, Inc. v.          :

   Abbott Laboratories, Inc.,         : Chief Magistrate

   No. 06-CV-11337-PBS                : Judge Marianne B.

   - - - - - - - - - - - - - - - x Bowler

                      IN THE CIRCUIT COURT OF

                    MONTGOMERY COUNTY, ALABAMA

   - - - - - - - - - - - - - - - x

   STATE OF ALABAMA,                  :

                       Plaintiff,     :

             vs.                      : Case No.: CV-05-219

   ABBOTT LABORATORIES, INC.,         : Judge Charles Price

   et al.,                            :

                       Defendants.    :

   - - - - - - - - - - - - - - - x




                          Henderson Legal Services
                                202-220-4158

                                                                 a2e99778-7e61-4f3d-8317-e255e740d5a9
             Case 1:01-cv-12257-PBS Document 6530-14 Filed 09/22/09 Page 3 of 6

DeParle, Nancy-Ann                                                                      May 18, 2007
                                         Washington, DC
                                            Page 226                                                  Page 228
 1   in September of 1995?                              1         A. No.
 2       A. No.                                         2         Q. The next slide is entitled
 3          MS. YAVELBERG: Objection; form.             3     manufacturers deny that they influence the
 4       Q. If I can get you to flip through to         4     setting of AWPs and it refers to a Barron's
 5   page 2900624 in the Bates numbering. It's what     5     article from June of 1996 entitled Hooked on
 6   appears to be two-to-a-page Power Point            6     Drugs. First of all, do you recall any
 7   presentation slides, the first of which describes  7     discussion at this meeting about the Barron's
 8   Ven-A-Care as a specialized infusion pharmacy.     8     article Hooked on Drugs?
 9   Do you recall Ven-A-Care characterizing itself as  9         A. No.
10   a specialized infusion pharmacy?                  10         Q. Do you recall ever seeing that Barron's
11          MS. YAVELBERG: Objection; form.            11     article from June of 1996?
12       A. No.                                        12         A. No.
13       Q. Do you recall anything that Ven-A-Care     13         Q. The next page. It's a slide that
14   told you about the nature of their practice and   14     alleges that First Databank, Medco's Red Book,
15   what they did as a specialized infusion pharmacy? 15     and Medispan rely on manufacturer representations
16       A. I don't recall knowing specialized         16     regarding AWP and WAC. Do you recall Ven-A-Care
17   infusion pharmacy. No. I would have said home     17     describing anything about alleged reliance by
18   health, something about home health. I just       18     those compendia on manufacturers regarding AWP
19   don't remember.                                   19     and WAC?
20          VIDEOGRAPHER: Excuse me, counsel. Can 20              A. No.
21   I ask the witness, please, to move her            21            MS. YAVELBERG: Objection; form.
22   microphone. I think what's happening is your      22         Q. Do you know what Red Book and First
                                            Page 227                                                  Page 229
 1   necklace is hitting up against the microphone and    1   Databank -- those are what we referred to earlier
 2   I'm getting very bad static. Thank you.              2   as Red Book and Blue Book?
 3   BY MR. COOK:                                         3      A. Yes.
 4       Q. If you could turn to page 646 of the          4      Q. And you knew that at the time Medicare
 5   last three numbers of the Bates numbers. The         5   was relying upon Red Book and Blue Book to obtain
 6   first of the slides there alleges that               6   AWPs to implement BBA in 1997?
 7   manufacturers make misleading statements to the      7         MS. YAVELBERG: Objection; form.
 8   United States government officials as to the         8      A. Well, as I've testified, HCFA published
 9   origins of AWPs and WACs. Do you see that?           9   a program memorandum that instructed the carriers
10       A. I do.                                        10   to pay statutory pricing of BBA, which was 95
11       Q. Do you recall any discussion in this         11   percent of the average wholesale price, and
12   meeting about Ven-A-Care's allegations that         12   average wholesale price had historically been
13   manufacturers were making misleading statements     13   determined by reference to these compendia. But
14   to government officials?                            14   you said Medicare relied. I don't know that I
15       A. No.                                          15   would say that, but that's what the carriers
16       Q. And there is a reference there to a          16   used. That was historically what they would use.
17   1992 OIG report on physician costs for              17      Q. And as of 1998, to the best of your
18   chemotherapy drugs. Do you recall Ven-A-Care        18   knowledge, the carriers were still using Red Book
19   referring you to that 1992 report?                  19   and Blue Book to determine AWP; correct?
20       A. No.                                          20      A. Yes, and I guess Medispan, too. That
21       Q. Do you recall whether you asked anybody      21   was the third source.
22   to look at that 1992 OIG report?                    22      Q. Were you aware that Medicaid programs
                                                                              58 (Pages 226 to 229)
                               Henderson Legal Services
                                     202-220-4158

                                                                                        a2e99778-7e61-4f3d-8317-e255e740d5a9
              Case 1:01-cv-12257-PBS Document 6530-14 Filed 09/22/09 Page 4 of 6

DeParle, Nancy-Ann Min - Vol. II                                                      December 5, 2007
                                             Washington, DC
                                                Page 657                                                Page 659
 1      A. No.                                         1        therein that the drug companies themselves were
 2         MR. HAVILAND: Okay. I have no more          2        the ones who set the AWPs that were published by
 3   questions, Ms. DeParle. I appreciate your time.   3        First Databank, Medi-Span and Red Book? Do you
 4         MR. LIBMAN: This is Ms. Libman. Am I        4        recall that?
 5   next up with a few questions, if I could?         5               MR. COOK: Objection to form.
 6         MS. YAVELBERG: Yes.                         6           A. I recall -- well, generally. I'm
 7                                                     7        hesitating because you said First Databank and I
 8              EXAMINATION BY COUNSEL FOR THE         8        don't remember that. I remember Red Book, Blue
 9              STATES OF ALASKA, HAWAII, IDAHO,       9        Book and Medi-Span.
10              ILLINOIS, KENTUCKY, SOUTH CAROLINA 10              Q. Okay. But as to those three publishers
11              AND WISCONSIN                         11        you understood that among other things they
12   BY MR. LIBMAN:                                   12        published information including AWPs for certain
13       Q. Ms. DeParle, I'm having a hard time       13        drugs; is that correct?
14   hearing you. Let me try something else here.     14           A. Yes.
15   Can you hear me Ms. DeParle?                     15           Q. And do you recall the HHS OIG report,
16       A. Yes.                                      16        one of those that was shown to your earlier
17       Q. Great. My name is Robert Libman. And      17        today, indicated that it was the drug company
18   I'm outside counsel seven states I identified    18        that set the AWPs that were published by those
19   earlier -- they include Alaska, Hawaii, Idaho,   19        publications?
20   Illinois, Kentucky, South Carolina and Wisconsin 20           A. You know, I'm sorry. It's been a long
21   -- in litigation brought against numerous drug   21        day. I don't remember that precisely.
22   companies, including those who have been sued by 22           Q. That's fine. Was that your
                                                Page 658                                                Page 660
 1   the U.S. Department of Justice.                        1   understanding during the time you were HCFA
 2          Our claims are brought under state law          2   administrator that the AWPs that were published
 3   and among other things allege that all the             3   in those publications were in fact set and
 4   defendants have reported and caused to be              4   controlled by the drug manufacturers?
 5   published average wholesale price for their drugs      5       A. No.
 6   that are in fact not true prices, not true             6       Q. Are you aware that in the cases for the
 7   average prices and not true average wholesale          7   states whom I represent that the drug companies,
 8   prices. In other words, not the price, the             8   many of the drug companies have admitted that
 9   average price charged by wholesalers to their          9   they in fact reported AWPs to these publications
10   customers.                                            10   intending that the identical AWPs would be
11          Do you have any knowledge or have you          11   published by those publications?
12   heard anything about the litigation brought by        12       A. I'm not really aware of the claims or
13   the seven states that I represent?                    13   testimony in the state litigation.
14      A. I believe I've seen articles in the             14       Q. Okay. Let me ask you to assume for the
15   newspapers about the state litigation. But            15   next series of questions that that is in fact the
16   otherwise, no.                                        16   case; that is, that the drug companies controlled
17      Q. Okay. Well, I only have a few                   17   the AWPs either by directly reporting an AWP that
18   questions for you. Starting with -- and I             18   was published in its identical form by these
19   apologize. I don't have the exhibit number in         19   publications or reported a different number known
20   front of me. But you were shown one OIG report.       20   as a WAC, a wholesale acquisition cost, by which
21   Do you recall that I believe Mr. Cook read a          21   the publication applied a mathematical formula to
22   portion of it to you that made a representation       22   arrive at an AWP. And then let me ask you a few
                                                                                84 (Pages 657 to 660)
                           Henderson Legal Services, Inc.
202-220-4158                                                    www.hendersonlegalservices.com

                                                                                          2bb07b98-05e4-4ace-bd89-45568f7b1cdf
             Case 1:01-cv-12257-PBS Document 6530-14 Filed 09/22/09 Page 5 of 6

DeParle, Nancy-Ann Min - Vol. II                                                     December 5, 2007
                                         Washington, DC
                                            Page 681                                                   Page 683
 1   that the actual wholesale price is lower than the  1     respect to you or Congress of which you're aware?
 2   average wholesale price?                           2            MS. YAVELBERG: Objection to form.
 3          MS. YAVELBERG: Objection, form.             3            MS. ALBEE: Objection to form.
 4      A. I'm sorry. This chart has six columns        4            MR. HAVILAND: Objection to form.
 5   or seven columns. And it's got the lowest, the     5         A. I don't recall.
 6   highest. Which one are you looking at?             6         Q. Can you tell me of any
 7      Q. I'm looking at the first two columns.        7     misrepresentations that anybody representing
 8   The average Medicare allowed amount in column 1 8        Abbott has ever made to you or to the government
 9   and the actual average wholesale price in column   9     of which you're aware?
10   2.                                                10            MR. HAVILAND: Objection.
11      A. All right.                                  11            MS. YAVELBERG: Objection.
12      Q. Can you confirm for me that in each of      12         A. Well, I can't speak for the government,
13   those instances the that actual average wholesale 13     first of all. To me, I can't recall.
14   price reported by the OIG is lower than the       14         Q. And can you recall or testify about any
15   average Medicare allowed amount?                  15     instance in which Abbott ever made any
16      A. Yes.                                        16     representations to you about AWP, how it was
17      Q. And so at least as of October 1, 1997       17     reported or what it represents?
18   you knew that for those 22 drugs representing 67 18          A. To me, no.
19   percent of Medicare Part B spending on drugs that 19            MR. COOK: I have no more questions.
20   the average wholesale prices published in         20            MR. HAVILAND: I have a couple of
21   compendia were not actual averages of wholesale 21       follow-ups unless others do in the room.
22   prices, correct?                                  22            MR. WALLACH: I have two. Jason
                                            Page 682                                                   Page 684
 1          MS. YAVELBERG: Objection, form.               1   Wallach on behalf of Baxter.
 2       A. No, I can't say that. I knew that for         2         MR. GORTNER: Why don't we go in order.
 3   these 22 drugs based on a statistical sampling       3         MR. WALLACH: Oh, I apologize.
 4   the OIG had determined what she called an actual     4         THE VIDEOGRAPHER: I'm going to have to
 5   average wholesale price that was different in the    5   change tapes.
 6   ways that were described in this chart. But I        6         MS. YAVELBERG: Okay.
 7   don't know if that was an actual wholesale price.    7         THE VIDEOGRAPHER: This is the end of
 8   It was a statistical sampling. We had a              8   tape 5. Off the record at 5:09.
 9   discussion about what that is earlier.               9            (Recess.)
10          So some might have been lower, some          10         THE VIDEOGRAPHER: This is the
11   might have been higher. I don't know -- the word    11   beginning of tape 6 in the deposition of Ms.
12   actual is a pretty technical term.                  12   DeParle. On the record at 5:22.
13       Q. And leaving semantics aside, is it fair      13
14   to say that the October 1, 1997 memorandum that     14             FURTHER EXAMINATION BY COUNSEL FOR
15   you initialed and that appears at page D2 of        15             THE DEY COMPANIES
16   Exhibit Abbott 002 accurately represents what you   16   BY MS. REID:
17   understood and believed as of October 1, 1997?      17      Q. This is Sarah Reid again. And I only
18          MR. HAVILAND: Object to the form.            18   have a few questions.
19       A. Yes.                                         19          You had testified not too long ago your
20       Q. Three very quick questions, Ms.              20   belief that when you started as administrator
21   DeParle. Has anyone representing Abbott ever        21   that AWP reflected an actual average price. Do
22   made any inappropriate lobbying attempts with       22   you remember that testimony?

                                                                               90 (Pages 681 to 684)
                         Henderson Legal Services, Inc.
202-220-4158                                                  www.hendersonlegalservices.com

                                                                                         2bb07b98-05e4-4ace-bd89-45568f7b1cdf
             Case 1:01-cv-12257-PBS Document 6530-14 Filed 09/22/09 Page 6 of 6

DeParle, Nancy-Ann Min - Vol. II                                                   December 5, 2007
                                         Washington, DC
                                            Page 685                                                 Page 687
 1          MR. HAVILAND: Can counsel bring her        1     spread?
 2   voice up? It's real hard to hear on the phone.    2            MS. YAVELBERG: Objection, form.
 3   I apologize for interjecting.                     3         A. I don't recall those words, no.
 4       Q. Do you recall that's the testimony that    4         Q. And do you recall seeing any slides in
 5   you gave to Mr. Haviland?                         5     which Ven-A-Care basically explained how the
 6       A. I thought average wholesale price meant    6     spread was used to cover Medicare's 20 percent
 7   average wholesale price, yeah.                    7     copayment, to pay kickbacks and provide windfall
 8       Q. An actual price. That AWP was an           8     profits?
 9   actual price.                                     9            MS. YAVELBERG: Objection to form.
10       A. I don't know that I would use the word    10         A. No, I don't.
11   actual. What I meant was that I thought that the 11         Q. Let me just show you that page that was
12   Red Book and the Blue Book had the wholesale     12     marked as Exhibit Abbott 206. And if you can't
13   prices that were paid out there in the           13     find it I'll just hand this one up to you. It's
14   marketplace and that's what it's an average of.  14     a whole volume. It's Exhibit Abbott 206.
15   I guess that's actual.                           15         A. It's several hundred pages, it looks
16       Q. So I want to direct your attention to     16     like.
17   March of 1998, shortly after you became the      17         Q. If you look in Exhibit Abbott 206 at
18   administrator and you had your meeting with Ven- 18     what's been Bates stamped as 2900669 --
19   A-Care representatives. And we've marked when 19            A. As I said before, I don't recall having
20   you were examined on the first day of your       20     seen this. And I'm puzzled when I look at the
21   deposition the materials of Ven-A-Care presented 21     first page of it because it says HCFA Office of
22   at that meeting. Do you recall?                  22     Financial Management. I don't remember anyone
                                            Page 686                                                 Page 688
 1          MS. YAVELBERG: Objection, form.              1   from there being at this meeting or having
 2      A. This is from day one. I don't think           2   anything to do with it. So I wonder if this was
 3   we've looked at it today. But yeah, I recall        3   actually given to me.
 4   that Mr. Cook presented those to me.                4          Tell me the number again.
 5      Q. And during that meeting Ven-A-Care            5       Q. 2900669. It has a slide on the top
 6   representatives told you that AWP was not an        6   where it talks about the spread?
 7   actual price or an actual average price, didn't     7       A. Yes.
 8   they?                                               8       Q. You see what it's referring to, that
 9          MS. YAVELBERG: Objection to form.            9   the spread is used to -- and then it goes through
10      A. I don't recall that. What I recall is        10   its five bullet points?
11   that they said that the drug companies were        11       A. (Nods head).
12   committing fraud.                                  12       Q. So is your testimony this having
13      Q. And do you recall that they explained        13   attended this meeting with Ven-A-Care you have
14   to you or showed you material of how the AWPs      14   absolutely no memory whatsoever that the
15   were reported to the publications and that they    15   gentleman from Ven-A-Care basically came in and
16   did not represent any actual price? Do you         16   told you that AWP was a false figure being
17   recall any discussion about that whatsoever?       17   falsely reported to the various compendia in
18          MS. YAVELBERG: Objection, form.             18   order to pay kickbacks, provide windfall profits,
19      A. I don't.                                     19   drive utilization, influence which drug a
20      Q. And do you recall their discussion           20   physician utilizes? Is that your testimony?
21   about how they alleged the manufacturers and the   21          MS. YAVELBERG: Objection to the form.
22   pharmaceutical companies were marketing the        22          MS. ALBEE: Objection to the form.
                                                                             91 (Pages 685 to 688)
                         Henderson Legal Services, Inc.
202-220-4158                                                 www.hendersonlegalservices.com

                                                                                       2bb07b98-05e4-4ace-bd89-45568f7b1cdf
